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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL
 INSURANCE COMPANIES,

       Plaintiff,

               v.                                    No. 1:13-cv-00966 (RJL)

U.S. DEPARTMENT OF HOUSING AND
 URBAN DEVELOPMENT, et al.,

       Defendants.


          JOINT APPENDIX OF EXCERPTS OF ADMINISTRATIVE RECORD

       Please take notice that Defendants are filing a Joint Appendix of Excerpts of the Certified

Administrative Record cited by the parties in their supplemental briefs in support of their

respective motions for summary judgment.

Dated: May 30, 2023
                                                     Respectfully submitted,

                                                     SARAH HARRINGTON
                                                     Deputy Assistant Attorney General

                                                     LESLEY FARBY
                                                     Assistant Branch Director

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